Case 23-14853-JKS           Doc 205      Filed 07/08/23 Entered 07/08/23 00:35:38                      Desc Main
                                        Document     Page 1 of 36




                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


In re:                                                       Chapter 11

CYXTERA TECHNOLOGIES, INC., et al.,                          Case No. 23-14853 (JKS)
                                   Debtors. 1                (Jointly Administered)


                                      CERTIFICATE OF SERVICE

       I, Rossmery Martinez, depose and say that I am employed by Kurtzman Carson
Consultants LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned
case.

       On or before June 29, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following documents via Electronic Mail upon the service list
attached hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as
Exhibit B:

        Certificate of No Objection with Respect to the Debtors' Motion for Entry of an
         Order (I) Approving the Bidding Procedures and Auction, (II) Approving Stalking
         Horse Bid Protections, (III) Scheduling Bid Deadlines and an Auction, (IV)
         Approving the Form and Manner of Notice Thereof, (V) Granting Related Relief
         [Docket No. 159]

        Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
         and Final Orders (I) Approving the Debtors' Proposed Adequate Assurance of
         Payment for Future Utility Services, (II) Prohibiting Utility Companies from
         Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors'
         Proposed Procedures for Resolving Adequate Assurance Requests, and (IV)
         Granting Related Relief [Docket No. 160]

        Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
         and Final Orders (I) Authorizing the Debtors to (A) Maintain Insurance and Surety
         Coverage Entered Into Prepetition and Pay Related Prepetition Obligations and (B)
         Renew, Supplement, Modify, or Purchase Insurance and Surety Coverage and (II)
         Granting Related Relief [Docket No. 161]

1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies,
Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
Boulevard, Ste. 900, Coral Gables, Florida 33134.
Case 23-14853-JKS    Doc 205    Filed 07/08/23 Entered 07/08/23 00:35:38      Desc Main
                               Document     Page 2 of 36




      Certificate of No Objection with Respect to Debtors' Motion for Entry of an Order
       (I) Authorizing and Approving Procedures to Reject or Assume Executory
       Contracts and Unexpired Leases, and (II) Granting Related Relief [Docket No. 162]

      Certificate of No Objection with Respect to the Second Interim Order (I)
       Authorizing the Debtors to (A) Continue Using the Cash Management System, (B)
       Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
       Debtor Bank Accounts, Business Forms, and Books and Records, and (D) Continue
       Intercompany Transactions and (II) Granting Related Relief [Docket No. 163]

      Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
       and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages,
       Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
       Employee Benefits Programs and (II) Granting Related Relief [Docket No. 164]

      Certificate of No Objection with Respect to the Debtors' Motion for Entry of
       Interim and Final Orders (I) Authorizing the Payment of Certain Taxes and Fees
       and (II) Granting Related Relief [Docket No. 165]

      Certificate of No Objection with Respect to Debtors' Motion Seeking Entry of
       Interim and Final Orders (I) Authorizing Debtors to Pay Prepetition Claims of
       Certain Critical Vendors, Foreign Vendors, 503(b)(9) Claimants, and Lien
       Claimants, (II) Granting Administrative Expense Priority to All Undisputed
       Obligations on Account of Outstanding Orders, and (III) Granting Related Relief
       [Docket No. 166]

      Certificate of No Objection with Respect to the Debtors' Motion for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain and
       Administer Their Customer and Partner Programs and (B) Honor Certain
       Prepetition Obligations Related Thereto and (II) Granting Related Relief [Docket
       No. 167]

      Certificate of No Objection with Respect to the Debtors' Motion for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) Continue to Perform
       Under Existing Hedging Contracts, (B) Enter Into New Hedging Contracts, (C)
       Grant Superpriority Claims, Provide Other Credit Support, and Honor Obligations
       Under Hedging Contracts, and (II) Granting Related Relief [Docket No. 168]

      Notice of Debtors' Motion for Entry of an Administrative Fee Order Establishing
       Procedures for the Allowance and Payment of Interim Compensation and
       Reimbursement of Expenses of Professionals Retained by Order of This Court
       [Docket No. 170]




                                         -- 2 --
Case 23-14853-JKS      Doc 205    Filed 07/08/23 Entered 07/08/23 00:35:38          Desc Main
                                 Document     Page 3 of 36



      Notice of Debtors' Motion for Entry of an Order Authorizing Employment and
       Payment of Professionals Utilized in the Ordinary Course of Business [Docket
       No. 171]

      Notice of Debtors' Motion for Entry of an Order (I) Setting Bar Dates for
       Submitting Proofs of Claim, Including Requests for Payment Under Section
       503(b)(9), (II) Establishing an Amended Schedules Bar Date and a Rejection
       Damages Bar Date, (III) Approving the Form, Manner, and Procedures for Filing
       Proofs of Claim, (IV) Approving Notice Thereof, and (V) Granting Related Relief
       [Docket No. 172]

      Notice of Hearing on Debtors' Application for Entry of an Order Authorizing the (I)
       Retention of AP Services, LLC, (II) Designation of Eric Koza as Chief Restructuring
       Officer and Raymond Li as Deputy Chief Restructuring Officer Effective as of the
       Petition Date, and (III) Granting Related Relief [Docket No. 173]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit C; and via First Class Mail upon the service list attached hereto as
Exhibit D:

      Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
       and Final Orders (I) Approving the Debtors' Proposed Adequate Assurance of
       Payment for Future Utility Services, (II) Prohibiting Utility Companies from
       Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors'
       Proposed Procedures for Resolving Adequate Assurance Requests, and (IV)
       Granting Related Relief [Docket No. 160]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following document via First Class Mail upon the service list
attached hereto as Exhibit E:

      Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
       and Final Orders (I) Authorizing the Debtors to (A) Maintain Insurance and Surety
       Coverage Entered Into Prepetition and Pay Related Prepetition Obligations and (B)
       Renew, Supplement, Modify, or Purchase Insurance and Surety Coverage and (II)
       Granting Related Relief [Docket No. 161]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following documents via First Class Mail upon the service list
attached hereto as Exhibit F:




                                            -- 3 --
Case 23-14853-JKS      Doc 205    Filed 07/08/23 Entered 07/08/23 00:35:38          Desc Main
                                 Document     Page 4 of 36



      Certificate of No Objection with Respect to the Second Interim Order (I)
       Authorizing the Debtors to (A) Continue Using the Cash Management System, (B)
       Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
       Debtor Bank Accounts, Business Forms, and Books and Records, and (D) Continue
       Intercompany Transactions and (II) Granting Related Relief [Docket No. 163]

      Certificate of No Objection with Respect to Debtors' Motion for Entry of Interim
       and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages,
       Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
       Employee Benefits Programs and (II) Granting Related Relief [Docket No. 164]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit G; and via First Class Mail upon the service list attached hereto as
Exhibit H:

      Certificate of No Objection with Respect to the Debtors' Motion for Entry of
       Interim and Final Orders (I) Authorizing the Payment of Certain Taxes and Fees
       and (II) Granting Related Relief [Docket No. 165]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following document via First Class Mail upon the service list
attached hereto as Exhibit I:

      Certificate of No Objection with Respect to the Debtors' Motion for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) Continue to Perform
       Under Existing Hedging Contracts, (B) Enter Into New Hedging Contracts, (C)
       Grant Superpriority Claims, Provide Other Credit Support, and Honor Obligations
       Under Hedging Contracts, and (II) Granting Related Relief [Docket No. 168]

       Furthermore, on June 28, 2023, at my direction and under my supervision, employees of
KCC caused to be served the following document via First Class Mail upon the service list
attached hereto as Exhibit J:

      Notice of Debtors' Motion for Entry of an Order Authorizing Employment and
       Payment of Professionals Utilized in the Ordinary Course of Business [Docket
       No. 171]

Dated: July 7, 2023
                                                      /s/ Rossmery Martinez
                                                      Rossmery Martinez
                                                      KCC
                                                      222 N. Pacific Coast Highway, 3rd Floor
                                                      El Segundo, CA 90245
                                                      Tel 310.823.9000




                                            -- 4 --
Case 23-14853-JKS   Doc 205    Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                              Document     Page 5 of 36




                              Exhibit A
         Case 23-14853-JKS                      Doc 205        Filed 07/08/23 Entered 07/08/23 00:35:38                                  Desc Main
                                                              Document     Page 6 of 36
                                                                             Exhibit A
                                                                         Master Service List
                                                                      Served via Electronic Mail

             Description                           CreditorName                   CreditorNoticeName                               Email
 Top 30                                   Accu-Tech Corp                     Corporate Office                remittance@accu-tech.com
 State Attorney General                   Alabama Attorney General           Attn Bankruptcy Department      consumerinterest@Alabamaag.gov
 State Attorney General                   Alaska Attorney General            Attn Bankruptcy Department      attorney.general@alaska.gov
                                                                                                             Adam.Maerov@mcmillan.ca;
                                                                                                             Preet.Saini@mcmillan.ca;
                                                                             Adam Maerov, Preet Saini,       okonowalchuk@alvarezandmarsal.com;
 Information Officer in the CCAA                                             Orest Konowalchuk, Cassie       criglin@alvarezandmarsal.com;
 proceeding                             Alvarez & Marsal Canada Inc.         Riglin, Duncan MacRae           dmacrae@alvarezandmarsal.com
 Attorneys for Galveston County         Ansell Grimm & Aaron, P.C.           Joshua S. Bauchner, Esq.        jb@ansellgrimm.com
 Counsel to agent under the Debtors’
 prepetition secured credit facilities,                                      Jeffrey R. Gleit, Esq., Allison H. jeffrey.gleit@afslaw.com;
 Wilmington Savings Fund Society,                                            Weiss, Esq., and Matthew R.        allison.weiss@afslaw.com;
 FSB                                    ArentFox Schiff LLP                  Bentley, Esq.                      matthew.bentley@afslaw.com
                                        Arizona Attorney General's Office
 State Attorney General                 - CSS                          Attn Bankruptcy Department            BCEIntake@azag.gov
 State Attorney General                 Arkansas Attorney General      Attn Bankruptcy Department            OAG@ArkansasAG.gov
                                                                       Leslie C. Heilman, Esquire,           heilmanl@ballardspahr.com;
 Counsel to Gateway Jefferson, Inc.                                    Laurel D. Roglen, Esquire and         roglenl@ballardspahr.com;
 and Shaw Road L.L.C.                  Ballard Spahr LLP               Margaret A. Vesper, Esquire           vesperm@ballardspahr.com
                                                                       Donald K. Ludman, Esq. and            dludman@brownconnery.com;
 Counsel to SAP SE and Ariba, Inc. Brown & Connery, LLP                Julie F. Montgomery, Esq.             jmontgomery@brownconnery.com
                                                                       Buffi Hendrix, Senior Property
 Top 30                                CBRE Investments                Manager                               buffi.hendrix@cbre.com
 Top 30                                Chicago Mercantile Exchange Inc Executive Office Headquarters         globalaccountmanagement@cmegroup.com
                                       Chiesa Shahinian & Giantomasi
 Counsel to Creditor Cummins, Inc. PC                                  Terri Jane Freedman, Esq.             tfreedman@csglaw.com
 Agent under the Debtors’ prepetition
 secured credit facilities             Citibank, N.A.                  Attn Loan Administration              GLOriginationOps@citigroup.com
 Top 30                                Clune Construction Company, LP National Offices                       clunereceivables@CLUNEGC.COM
 State Attorney General                Colorado Attorney General       Attn Bankruptcy Department            attorney.general@coag.gov
 State Attorney General                Connecticut Attorney General    Attn Bankruptcy Department            attorney.general@ct.gov
 Counsel for Ohio Power Company
 d/b/a American Electric Power et.
 al.                                   Cullen and Dykman LLP           Attn: Michael Kwiatkowski             mkwiatkowski@cullenllp.com
 Top 30                                Cummins Sales and Service       Corporate Headquarters                pem.national.accounts@cummins.com
 Top 30                                CyrusOne Inc.                                                         Accountmanagement@cyrusone.com
 Top 30                                Daikin Applied Americas Inc     North America Corporate Office        Brandi.Lehner@daikinapplied.com
 Co-Counsel to Citibank, N.A., as                                      Angela M. Libby, Esq. and             angela.libby@davispolk.com;
 Administrative Agent                  Davis Polk & Wardwell LLP       David Kratzer, Esq.                   david.kratzer@davispolk.com
 Counsel to agent under the Debtors’
 prepetition secured credit facilities Davis Polk & Wardwell LLP       Kenneth J. Steinberg                  kenneth.steinberg@davispolk.com
 State Attorney General                Delaware Attorney General       Attn Bankruptcy Department            attorney.general@state.de.us
 Top 30                                Digital Realty                  Rafal Rak, Vice President             rrak@digitalrealty.com
                                       District of Columbia Attorney
 State Attorney General                General                         Attn Bankruptcy Department            oag@dc.gov
 Counsel to LDAC16 DI LLC              DLA Piper LLP (US)              Rachel Ehrlich Albanese               rachel.albanese@us.dlapiper.com
 Counsel to CyrusOne AMS3 B.V.         Eversheds Sutherland (US) LLP Lynn W. Holbert                         lynnholbert@eversheds-sutherland.com
                                                                                                             citizenservices@myfloridalegal.com;
 State Attorney General                   Florida Attorney General           Attn Bankruptcy Department      oag.civil.eserve@myfloridalegal.com
                                          Gellert Scali Busenkell & Brown,
 Counsel to NVIDIA Corporation            LLC                                Ronald S. Gellert, Esq.         rgellert@gsbblaw.com
 State Attorney General                   Georgia Attorney General           Attn Bankruptcy Department      Agcarr@law.ga.gov
 Co-Counsel to the Ad Hoc First Lien
 Group                               Gibbons P.C.                            Attn Dale E. Barney, Esq.       dbarney@gibbonslaw.com
                                                                             Attn Scott Greenberg, Michael   sgreenberg@gibsondunn.com;
 Counsel to the Ad Hoc First Lien                                            J. Cohen, Esq., Steven          sdomanowski@gibsondunn.com;
 Group of the Debtors’ prepetition                                           Domanowski, and Stephen D.      MCohen@gibsondunn.com;
 term loan facilities                     Gibson, Dunn & Crutcher            Silverman, Esq.                 SSilverman@gibsondunn.com
 Co-Counsel to Citibank, N.A., as
 Administrative Agent                     Greenberg Traurig, LLP             Alan J. Brody, Esq.             brodya@gtlaw.com
                                                                             Constantino T. Milano (Gus
                                                                             Milano), President & Chief
 Top 30                                   Hartz Mountain Industries Inc.     Operating Officer               gm@hartzmountain.com
 State Attorney General                   Hawaii Attorney General            Attn Bankruptcy Department      hawaiiag@hawaii.gov
 Top 30                                   HITT Contracting Inc               Corporate Headquarters          PSaunders@hitt-gc.com
 State Attorney General                   Idaho Attorney General             Attn Bankruptcy Department      AGLabrador@ag.idaho.gov



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                       Page 1 of 3
          Case 23-14853-JKS                     Doc 205        Filed 07/08/23 Entered 07/08/23 00:35:38                                   Desc Main
                                                              Document     Page 7 of 36
                                                                              Exhibit A
                                                                          Master Service List
                                                                       Served via Electronic Mail

             Description                           CreditorName                  CreditorNoticeName                                Email
                                                                                                             attorney_general@atg.state.il.us;
 State Attorney General                   Illinois Attorney General         Attn Bankruptcy Department       michelle@lisamadigan.org
 State Attorney General                   Indiana Attorney General          Attn Bankruptcy Department       info@atg.in.gov
 State Attorney General                   Iowa Attorney General             Attn Bankruptcy Department       IDR.Bankruptcy@ag.iowa.gov
 Top 30                                   IPI Partners                      Matt A'Hearn                     mahearn@ipipartners.com
                                                                            Jason Scanlan, Senior Account
 Top 30                                   Iron Mountain                     Manager, Iron Mountain           jason.scanlan@ironmountain.com
                                                                            Steven J. Reisman, Esq., Cindi   sreisman@katten.com;
 Attorneys for the Disinterested                                            M. Giglio, Esq., Marc B.         cgiglio@katten.com;
 Directors of Cyxtera Technologies,                                         Roitman, Esq., Grace A.          marc.roitman@katten.com;
 Inc.                                     Katten Muchin Rosenman LLP        Thompson, Esq.                   grace.thompson@katten.com
 State Attorney General                   Kentucky Attorney General         Attn Bankruptcy Department       attorney.general@ag.ky.gov
 Counsel to NVIDIA Corporation            Law Office of Wayne A. Silver     Wayne A. Silver, Esq.            ws@waynesilverlaw.com
 Counsel for Polaris Realty (Canada)
 Limited                                  Lawson Lundell LLP                Alexis Teasdale                  ateasdale@lawsonlundell.com
                                          Linebarger Goggan Blair &
 Counsel to Tarrant County                Sampson, LLP                      John Kendrick Turner             dallas.bankruptcy@lgbs.com
                                          Linebarger Goggan Blair &
 Counsel to Galveston County              Sampson, LLP                      Tara L. Grundemeier              houston_bankruptcy@lgbs.com
                                                                                                             Executive@ag.louisiana.gov;
 State Attorney General                   Louisiana Attorney General        Attn Bankruptcy Department       ConstituentServices@ag.louisiana.gov
 State Attorney General                   Maine Attorney General            Attn Bankruptcy Department       attorney.general@maine.gov
 State Attorney General                   Maryland Attorney General         Attn Bankruptcy Department       oag@oag.state.md.us
 State Attorney General                   Massachusetts Attorney General    Attn Bankruptcy Department       ago@state.ma.us
 Counsel to PNC Bank, National                                                                               BTrust@mayerbrown.com;
 Association                              Mayer Brown LLP                   Brian Trust, Dabin Chung         DChung@mayerbrown.com
 Counsel to PNC Bank, National                                              Phillip S. Pavlick, Lisa S.      ppavlick@mccarter.com;
 Association                              McCarter & English, LLP           Bonsall                          lbonsall@mccarter.com
 Counsel to 1919 Park Avenue
 Associates, LLC                          McGrail & Bensinger LLP           Ilana Volkov, Esq.               ivolkov@mcgrailbensinger.com
                                                                                                             accountsreceivable@dwebberconsulting.com;
 Top 30                                   Megawatt Electrical               Corporate Office                 info@mwatte.com
 Top 30                                   Menlo Equities                    C. Michael Johnston              johnston@menloequities.com
 State Attorney General                   Michigan Attorney General         Attn Bankruptcy Department       miag@michigan.gov
 State Attorney General                   Minnesota Attorney General        Attn Bankruptcy Department       ag.replies@ag.state.mn.us
 State Attorney General                   Missouri Attorney General         Attn Bankruptcy Department       attorney.general@ago.mo.gov
 State Attorney General                   Montana Attorney General          Attn Bankruptcy Department       contactocp@mt.gov
                                                                                                             NEDOJ@nebraska.gov;
 State Attorney General                   Nebraska Attorney General      Attn Bankruptcy Department          Ago.info.help@nebraska.gov
 State Attorney General                   Nevada Attorney General        Attn Bankruptcy Department          AgInfo@ag.nv.gov
 State Attorney General                   New Hampshire Attorney General Attn Bankruptcy Department          attorneygeneral@doj.nh.gov
                                                                                                             Heather.Anderson@law.njoag.gov;
 State Attorney General                   New Jersey Attorney General       Attn Bankruptcy Department       NJAG.ElectronicService.CivilMatters@law.njoag.gov
 State Attorney General                   New Mexico Attorney General       Attn Bankruptcy Department       hbalderas@nmag.gov
                                                                                                             Louis.Testa@ag.ny.gov;
 State Attorney General                   New York Attorney General         Attn Bankruptcy Department       letitia.james@ag.ny.gov
 State Attorney General                   North Carolina Attorney General   Attn Bankruptcy Department       ncago@ncdoj.gov
 State Attorney General                   North Dakota Attorney General     Attn Bankruptcy Department       ndag@nd.gov
                                          Office of the United States
 U.S. Trustee for the District of New     Trustee for the District of New
 Jersey                                   Jersey                            Attn: David Gerardi, Esq.     David.Gerardi@usdoj.gov
 State Attorney General                   Ohio Attorney General             Attn Bankruptcy Department    Kristin.Radwanick@OhioAGO.gov
 State Attorney General                   Oklahoma Attorney General         Attn Bankruptcy Department    ConsumerProtection@oag.ok.gov
                                                                                                          AttorneyGeneral@doj.state.or.us;
 State Attorney General                   Oregon Attorney General           Attn Bankruptcy Department    Lisa.Udland@doj.state.or.us
 State Attorney General                   Pennsylvania Attorney General     Attn Bankruptcy Department    info@attorneygeneral.gov
                                                                                                          ahicks@powersolutions-llc.com;
 Top 30                                   Power Solutions LLC               Corporate Office Headquarters info@powersolutions-llc.com
 Attorney for Defendant, Public
 Service Electric and Gas Company         PSEG                              Alexandra F. Grant, Esq.         alexandra.grant@pseg.com
 State Attorney General                   Rhode Island Attorney General     Attn Bankruptcy Department       ag@riag.ri.gov
 Counsel to Wilmington Savings
 Fund Society, FSB, as                                                      Joseph L. Schwartz, Esq.,       jschwartz@riker.com;
 Administrative Agent and Collateral                                        Curtis M. Plaza, Esq., and Tara cplaza@riker.com;
 Agent                                    Riker Danzig LLP                  J. Schellhorn, Esq.             tschellhorn@riker.com
                                          S&P Global Market Intelligence
 Top 30                                   LLC                                                                E.market.intelligence@spglobal.com


In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                       Page 2 of 3
          Case 23-14853-JKS                     Doc 205         Filed 07/08/23 Entered 07/08/23 00:35:38                               Desc Main
                                                               Document     Page 8 of 36
                                                                              Exhibit A
                                                                          Master Service List
                                                                       Served via Electronic Mail

             Description                            CreditorName                   CreditorNoticeName                             Email
                                          Securitas Security Services USA
 Top 30                                   Inc                                  North America Office         ronald.novak02@securitasinc.com
                                          Securities & Exchange                                             bankruptcynoticeschr@sec.gov;
 SEC Regional Office                      Commission                           NY Regional Office           nyrobankruptcy@sec.gov
                                          Securities & Exchange
 SEC Regional Office                      Commission                           PA Regional Office           philadelphia@sec.gov
                                          Securities & Exchange                                             SECBankruptcy-OGC-ADO@SEC.GOV;
 SEC Headquarters                         Commission                           Secretary of the Treasury    secbankruptcy@sec.gov
 Top 30                                   Server Farm                          North America Headquarter    Sales@sfrdc.com
 Counsel to American Data Center
 Solutions, LLC                           Sirlin Lesser & Benson, P.C.         Dana S. Plon, Esquire        dplon@sirlinlaw.com
 State Attorney General                   South Dakota Attorney General        Attn Bankruptcy Department   atghelp@state.sd.us
 Top 30                                   Southwire Company, LLC               Corporate Office             Sandra.Pitts@Southwire.com
 Counsel to Lumen Technologies            Stinson LLP                          Edwin H. Caldie, Esq.        ed.caldie@stinson.com
 Top 30                                   Structure Tone, LLC                                               bd@stobuildinggroup.com
 State Attorney General                   Tennessee Attorney General           Attn Bankruptcy Department   agattorneys@ag.tn.gov
                                                                                                            bankruptcytax@oag.texas.gov;
 State Attorney General                   Texas Attorney General               Attn Bankruptcy Department   communications@oag.texas.gov
 Top 30                                   Trane US Inc                         Commercial Sales Office      areft@trane.com
 State Attorney General                   Utah Attorney General                Attn Bankruptcy Department   uag@utah.gov
 State Attorney General                   Vermont Attorney General             Attn Bankruptcy Department   ago.info@vermont.gov
 State Attorney General                   Virginia Attorney General            Attn Bankruptcy Department   mailoag@oag.state.va.us
 State Attorney General                   Washington Attorney General          Attn Bankruptcy Department   emailago@atg.wa.gov
                                          Watt, Tieder, Hoffar & Fitzgerald,
 Counsel to HITT Contracting, Inc.        LLP                                  John F. Finnegan III, Esq.   jfinnegan@watttieder.com
 State Attorney General                   West Virginia Attorney General       Attn Bankruptcy Department   consumer@wvago.gov
                                          Wingspire Equipment Finance,
 Top 30                                   LLC                                                               hello@wingspirecapital.com
 State Attorney General                   Wisconsin Attorney General           Attn Bankruptcy Department   dojbankruptcynoticegroup@doj.state.wi.us
 Agent under the Debtors’ prepetition
 secured credit facilities            WSFS Institutional Services              Attn John McNichol           jmcnichol@wsfsbank.com
                                                                                                            judy.mitchell@wyo.gov;
 State Attorney General                   Wyoming Attorney General             Attn Bankruptcy Department   ag@wyo.gov




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                         Page 3 of 3
Case 23-14853-JKS   Doc 205    Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                              Document     Page 9 of 36




                              Exhibit B
                                     Case 23-14853-JKS                     Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                                          Desc Main
                                                                                  Document    Page 10 of 36
                                                                                                         Exhibit B
                                                                                                    Master Service List
                                                                                                 Served via First Class Mail

             Description                           CreditorName                       CreditorNoticeName                 Address1                 Address2             Address3       City   State     Zip
 Top 30                                   Accu-Tech Corp                        Corporate Office                11350 Old Roswell Rd, Ste 100                                     Alpharetta GA    30009
 State Attorney General                   Alabama Attorney General              Attn Bankruptcy Department      501 Washington Ave            PO Box 300152                       Montgomery AL    36104-0152
                                                                                                                1031 West 4th Avenue, Suite
 State Attorney General                   Alaska Attorney General               Attn Bankruptcy Department      200                                                               Anchorage     AK   99501-1994
 State Attorney General                   Arizona Attorney General              Attn Bankruptcy Department      2005 N Central Ave                                                Phoenix       AZ   85004-2926
                                          Arizona Attorney General's Office -
 State Attorney General                   CSS                                   Attn Bankruptcy Department     PO Box 6123                      MD 7611                           Phoenix     AZ     85005-6123
 State Attorney General                   Arkansas Attorney General             Attn Bankruptcy Department     323 Center St. Ste 200                                             Little Rock AR     72201-2610
 State Attorney General                   California Attorney General           Attn Bankruptcy Department     1300 I St., Ste. 1740                                              Sacramento CA      95814-2919
 Official Committee of Unsecured                                                                               601 S. Figueroa Street., 49th
 Creditors                                CBRE Investment Management            Andrew Horn                    Floor                                                              Los Angeles   CA   90017
                                                                                Buffi Hendrix, Senior Property Lic. 01181450 CBRE | Property    3501 Jamboree                     Newport
 Top 30                                   CBRE Investments                      Manager                        Management                       Road, Suite 100                   Beach         CA   92660
 Top 30                                   Chicago Mercantile Exchange Inc       Executive Office Headquarters 20 South Wacker Drive                                               Chicago       IL   60606
 Top 30                                   Chicago Mercantile Exchange Inc                                      PO Box 73672                                                       Chicago       IL   60673
                                                                                                               10 South Riverside Plaza,
 Top 30                                   Clune Construction Company, LP        National Offices               Suite 2200                                                         Chicago       IL   60606
                                                                                                               Ralph L Carr Colorado Judicial   1300 Broadway, 10th
 State Attorney General                   Colorado Attorney General             Attn Bankruptcy Department     Building                         Fl                                Denver        CO   80203
 State Attorney General                   Connecticut Attorney General          Attn Bankruptcy Department     165 Capitol Avenue                                                 Hartford      CT   06106
 Top 30                                   Cummins Sales and Service             Corporate Headquarters         500 Jackson St                                                     Columbus      IN   47201
                                                                                                               2850 N Harwood St., Suite
 Top 30                                   CyrusOne Inc.                                                        2200                                                               Dallas      TX     75201
 Top 30                                   Daikin Applied Americas Inc           North America Corporate Office 13600 Industrial Park Blvd                                         Minneapolis MN     55441
 State Attorney General                   Delaware Attorney General             Attn Bankruptcy Department     Carvel State Office Bldg.        820 N. French St.                 Wilmington DE      19801
                                                                                                               Portfolio Management Group,      2323 Bryan Street,
 Top 30                                   Digital Realty                        Rafal Rak, Vice President      Digital Realty                   Suite 1800                        Dallas        TX   75201
                                          District of Columbia Attorney
 State Attorney General                   General                               Attn Bankruptcy Department      400 6th Street NW                                                 Washington DC      20001
 State Attorney General                   Florida Attorney General              Attn Bankruptcy Department      PL-01 The Capitol                                                 Tallahassee FL     32399-1050
 State Attorney General                   Georgia Attorney General              Attn Bankruptcy Department      40 Capital Square, SW                                             Atlanta     GA     30334-1300
                                                                                Constantino T. Milano (Gus
                                                                                Milano), President & Chief
 Top 30                                   Hartz Mountain Industries Inc.        Operating Officer               Hartz Mountain Industries, Inc. 500 Plaza Drive                   Secaucus      NJ   07094
 State Attorney General                   Hawaii Attorney General               Attn Bankruptcy Department      425 Queen Street                                                  Honolulu      HI   96813
 Top 30                                   Hewlett Packard                       Corporate Headquarters          1701 E Mossy Road                                                 Spring        TX   77389
                                                                                                                                                                                  Berkeley
 Top 30                                   Hewlett Packard                                                       200 Connell Dr. Suite 5000                                        Heights       NJ   07922
                                                                                                                                                                                  Falls
 Top 30                                   HITT Contracting Inc                  Corporate Headquarters          2900 Fairview Park Dr                                             Church        VA   22042
                                                                                                                                                                                  Salt Lake
 Top 30                                   ICM Solutions                                                         4899 West 2100 South                                              City          UT   84120
                                                                                                                700 W. Jefferson Street Suite
 State Attorney General                   Idaho Attorney General                Attn Bankruptcy Department      210                             PO Box 83720                      Boise         ID   83720-0010
 State Attorney General                   Illinois Attorney General             Attn Bankruptcy Department      James R. Thompson Ctr           100 W. Randolph St.               Chicago       IL   60601
                                                                                                                                                302 West
 State Attorney General                   Indiana Attorney General              Attn Bankruptcy Department      Indiana Govt Center South       Washington St 5th Fl              Indianapolis IN    46204



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                                                  Page 1 of 3
                                     Case 23-14853-JKS                      Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                                           Desc Main
                                                                                   Document    Page 11 of 36
                                                                                                        Exhibit B
                                                                                                   Master Service List
                                                                                                Served via First Class Mail

              Description                           CreditorName                   CreditorNoticeName                    Address1                     Address2           Address3       City      State      Zip
                                                                              Centralized Insolvency
 IRS                                      Internal Revenue Service            Operation                        PO Box 7346                                                           Philadelphia PA      19101-7346
                                                                                                                                                1305 E. Walnut
 State Attorney General                   Iowa Attorney General               Attn Bankruptcy Department       Hoover State Office Bldg         Street                               Des Moines IA        50319
                                                                                                                                                300 N. LaSalle
 Top 30                                   IPI Partners                        Matt A'Hearn                  IPI Partners                        Street, Suite 1875                   Chicago      IL      60654
                                                                              Jason Scanlan, Senior Account
 Top 30                                   Iron Mountain                       Manager, Iron Mountain        8521 East Princess Drive                                                 Scottsdale   AZ      85255
 Official Committee of Unsecured
 Creditors                                Iron Mountain Data Centers, LLC     Barry Hytinen                    One Federal Street                                                    Boston       MA      02110
 State Attorney General                   Kansas Attorney General             Attn Bankruptcy Department       120 SW 10th Ave., 2nd Fl                                              Topeka       KS      66612-1597
                                                                                                                                                Capitol Building,
 State Attorney General                   Kentucky Attorney General           Attn Bankruptcy Department       700 Capitol Avenue               Suite 118                            Frankfort    KY      40601-3449
 Top 30                                   Latham & Watkins, LLP                                                1271 Ave of the Americas                                              New York     NY      10020
 Top 30                                   Lazard Freres & Co                                                   30 Rockefeller Plaza                                                  New York     NY      10112
                                                                                                                                                                                     Baton
 State Attorney General                   Louisiana Attorney General          Attn Bankruptcy Department       PO Box Box 94005                                                      Rouge        LA      70804
 State Attorney General                   Maine Attorney General              Attn Bankruptcy Department       6 State House Station                                                 Augusta      ME      04333
 State Attorney General                   Maryland Attorney General           Attn Bankruptcy Department       200 St. Paul Place                                                    Baltimore    MD      21202-2202
                                                                                                               One Ashburton Place 20th
 State Attorney General                   Massachusetts Attorney General      Attn Bankruptcy Department       Floor                                                                 Boston       MA      02108-1518
                                                                                                               3100 De La Cruz Blvd, Suite
 Top 30                                   Megawatt Electrical                 Corporate Office                 208                                                                   Santa Clara CA       95054
 Top 30                                   Menlo Equities                      C. Michael Johnston              2765 Sand Hill Road, Suite 200                                        Menlo Park CA        94025
 Official Committee of Unsecured                                                                               Mintz, Levin, Cohn, Ferris,    2049 Century Park
 Creditors                                Menlo Equities                      c/o Abigail O'Brient, Esquire    Glovsky and Popeo, P.C.        East, Suite 300                        Los Angeles CA       90067
                                                                                                                                                                        P.O. Box
 State Attorney General                   Michigan Attorney General           Attn Bankruptcy Department       G. Mennen Williams Building      525 W. Ottawa St.       30212     Lansing         MI      48909
 State Attorney General                   Minnesota Attorney General          Attn Bankruptcy Department       445 Minnesota St Suite 1400                                        St Paul         MN      55101-2131
 State Attorney General                   Mississippi Attorney General        Attn Bankruptcy Department       Walter Sillers Building          550 High St Ste 1200              Jackson         MS      39201
                                                                                                                                                                                  Jefferson
 State Attorney General                   Missouri Attorney General           Attn Bankruptcy Department       Supreme Court Bldg               207 W. High St.      P.O. Box 899 City            MO      65101
                                                                                                                                                215 N. Sanders 3rd PO Box
 State Attorney General                   Montana Attorney General            Attn Bankruptcy Department       Justice Bldg                     Fl                   201401       Helena          MT      59620-1401
 Top 30                                   Multistack LLC                      Corporate Office                 1065 Maple Ave                                                     Sparta          WI      54656
 State Attorney General                   Nebraska Attorney General           Attn Bankruptcy Department       2115 State Capitol               P.O. Box 98920                    Lincoln         NE      68509
 State Attorney General                   Nevada Attorney General             Attn Bankruptcy Department       Old Supreme Ct. Bldg.            100 N. Carson St                  Carson City     NV      89701
 State Attorney General                   New Hampshire Attorney General      Attn Bankruptcy Department       33 Capitol St.                                                     Concord         NH      03301
                                                                                                               Richard J. Hughes Justice
 State Attorney General                   New Jersey Attorney General         Attn Bankruptcy Department       Complex                          25 Market St            PO Box 080   Trenton      NJ      08625-0080
 State Attorney General                   New Mexico Attorney General         Attn Bankruptcy Department       408 Galisteo St                  Villagra Building                    Santa Fe     NM      87501
 State Attorney General                   New York Attorney General           Attn Bankruptcy Department       Office of the Attorney General   The Capitol, 2nd Fl.                 Albany       NY      12224-0341
 State Attorney General                   North Carolina Attorney General     Attn Bankruptcy Department       9001 Mail Service Center                                              Raleigh      NC      27699-9001
                                                                                                               600 E. Boulevard Ave. Dept
 State Attorney General                   North Dakota Attorney General       Attn Bankruptcy Department       125                                                                   Bismarck     ND      58505-0040
 U.S. Trustee for the District of New     Office of the United States Trustee                                  One Newark Center, Suite
 Jersey                                   for the District of New Jersey      Attn: David Gerardi, Esq.        2100                                                                  Newark       NJ      07102
 State Attorney General                   Ohio Attorney General               Attn Bankruptcy Department       50 E. Broad Street 17th Fl                                            Columbus     OH      43215


In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                                                 Page 2 of 3
                                     Case 23-14853-JKS                     Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                                              Desc Main
                                                                                  Document    Page 12 of 36
                                                                                                           Exhibit B
                                                                                                      Master Service List
                                                                                                   Served via First Class Mail

              Description                           CreditorName                  CreditorNoticeName                        Address1                   Address2             Address3         City      State      Zip
                                                                                                                                                                                        Oklahoma
 State Attorney General                   Oklahoma Attorney General          Attn Bankruptcy Department           313 NE 21st St                                                        City           OK      73105
 State Attorney General                   Oregon Attorney General            Attn Bankruptcy Department           1162 Court St. NE                                                     Salem          OR      97301-4096
 State Attorney General                   Pennsylvania Attorney General      Attn Bankruptcy Department           16th Floor, Strawberry Square                                         Harrisburg     PA      17120
                                                                                                                                                  6025 The Corners
 Top 30                                   Pivot Technology Services Corp     d/b/a Computacenter                  Matt Yates                      Pkwy. Suite 100                       Norcross   GA          30092
 Top 30                                   Power Solutions LLC                Corporate Office Headquarters        17201 Melford Blvd                                                    Bowie      MD          20715
 State Attorney General                   Rhode Island Attorney General      Attn Bankruptcy Department           150 S. Main St.                                                       Providence RI          02903
                                          S&P Global Market Intelligence
 Top 30                                   LLC                                                                     55 Water Street                                                       New York       NY      10041
                                                                                                                  12201 Tukwila Int'l Blvd.,
 Top 30                                   Sabey Corporation                  Attn General Counsel                 Fourth Floor                                                          Seattle        WA      98168
                                          Securitas Security Services USA                                         150 S. Wacker Drive, Suite
 Top 30                                   Inc                                North America Office                 LL50                                                                  Chicago        IL      60606
 Official Committee of Unsecured          Securitas Security Services USA,
 Creditors                                Inc.                               Chris Longua                         9 Campus Drive                                                        Parsippany NJ          07054
                                                                                                                                                  100 Pearl St., Suite
 SEC Regional Office                      Securities & Exchange Commission NY Regional Office                     Regional Director               20-100                                New York       NY      10004-2616
                                                                                                                                                                          1617 JFK
                                                                                                                                                                          Boulevard Ste
 SEC Regional Office                      Securities & Exchange Commission   PA Regional Office                   Regional Director            One Penn Center            520           Philadelphia   PA      19103
 SEC Headquarters                         Securities & Exchange Commission   Secretary of the Treasury            100 F St NE                                                           Washington     DC      20549
 Top 30                                   Server Farm                        North America Headquarter            444 N. Nash Street                                                    El Segundo     CA      90245
 State Attorney General                   South Dakota Attorney General      Attn Bankruptcy Department           1302 East Highway 14 Suite 1                                          Pierre         SD      57501-8501
 Top 30                                   Southwire Company, LLC             Corporate Office                     One Southwire Drive                                                   Carollton      GA      30119
 Top 30                                   Structure Tone, LLC                                                     330 West 34th Street                                                  New York       NY      10001
 Top 30                                   Sullivan & Cromwell LLP                                                 125 Broad Street                                                      New York       NY      10004
 State Attorney General                   Tennessee Attorney General         Attn Bankruptcy Department           P.O. Box 20207                                                        Nashville      TN      37202-0207
 State Attorney General                   Texas Attorney General             Attn Bankruptcy Department           300 W. 15th St                                                        Austin         TX      78701
 Top 30                                   Trane US Inc                       Commercial Sales Office              3600 Pammel Creek Rd                                                  La Crosse      WI      54601
 US Attorney for District of New          US Attorney for District of New
 Jersey                                   Jersey                             Philip R. Sellinger                  970 Broad Street, 7th Floor                                           Newark         NJ      07102
                                                                                                                                                  350 North State                       Salt Lake
 State Attorney General                   Utah Attorney General              Attn Bankruptcy Department           Utah State Capitol Complex      Street, Suite 230                     City           UT      84114-2320
 State Attorney General                   Vermont Attorney General           Attn Bankruptcy Department           109 State St.                                                         Montpelier     VT      05609-1001
 State Attorney General                   Virginia Attorney General          Attn Bankruptcy Department           202 North Ninth St                                                    Richmond       VA      23219
 State Attorney General                   Washington Attorney General        Attn Bankruptcy Department           1125 Washington St SE           PO Box 40100                          Olympia        WA      98504-0100
                                                                                                                                                  1900 Kanawha Blvd.,
 State Attorney General                   West Virginia Attorney General   Attn Bankruptcy Department             State Capitol Bldg 1 Rm E-26    East                                  Charleston     WV      25305
 Top 30                                   Wingspire Equipment Finance, LLC                                        18302 Irvine Blvd Suite 300                                           Tustin         CA      92780
                                                                                                                                                  114 East, State
 State Attorney General                   Wisconsin Attorney General         Attn Bankruptcy Department           Wisconsin Dept. of Justice      Capitol                 PO Box 7857 Madison          WI      53707-7857
 State Attorney General                   Wyoming Attorney General           Attn Bankruptcy Department           109 State Capitol                                                   Cheyenne         WY      82002




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                                                   Page 3 of 3
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 13 of 36




                            Exhibit C
       Case 23-14853-JKS           Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38           Desc Main
                                          Document    Page 14 of 36
                                                       Exhibit C
                                             Utility Providers Service List
                                              Served via Electronic Mail
                               CreditorName                                    Email
                 Burbank Water & Power                     BWPCustomerService@burbankca.gov
                 Cablevision Lightpath, LLC                legal@lightpathfiber.com
                 Calpine Energy Solutions                  customerservice@calpinesolutions.com
                 Capcon Networks LLC                       accounting@capconnetworks.com
                 Capitol Waste & Recycling Services        service@capitol-waste.com
                 City Of Fort Worth Water Dept.            MyWaterAccount@FortWorthTexas.gov
                                                           water@santaclaraca.gov;
                 City Of Santa Clara                       utilitybilling@santaclaraca.gov
                 City Of Seattle                           SPUCustomerService@seattle.gov
                                                           finance@sunnyvale.ca.gov;
                 City Of Sunnyvale                         utilitybilling@sunnyvale.ca.gov
                 City Of Tempe                             customerservices@tempe.gov
                 City Of Tukwila                           PublicWorks@TukwilaWA.gov
                 Cogent                                    info@cogentco.com
                 Comcast Business                          corporate_legal@comcast.com
                 Direct Energy Business                    csdirectenergy@directenergy.com
                 Elk Grove Village                         ctromp@elkgrove.org
                 Greystone Power Corp                      memberservices@greystonepower.com
                 Highlands Ranch Metro District            info@highlandsranch.org
                 Highline Water District                   Customerservice@highlinewater.org
                 Intelipeer                                info@intelepeer.com
                 Liander N.V.                              info@liander.nl
                 Net2Phone                                 support@net2phone.com
                 North Hudson Sewerage Auth.               jcutler@nhudsonsa.com
                 Puget Sound Energy                        customercare@pse.com
                 Republic Services - Sun Valley, Ca        privacy@republicservices.com
                 Republic Services 183                     privacy@republicservices.com
                 Republic Services Of Santa Clara County   mcaprio@republicservices.com
                 Republic Services, Inc. - Atlanta, Ga     harcelay@republicservices.com
                 Republic Services, Inc. - Gardena, Ca     privacy@republicservices.com
                 Southern California Edison                janet.combs@sce.com
                 Southwest Gas                             customerinfo@swgas.com
                                                           corporatesecretary@srpnet.com;
                 SRP                                       help@srpnet.com
                                                           customerservice@suburbanwastemn.com;
                 Suburban Waste MN, LLC                    RSIEVERS1223@GMAIL.COM
                 Symmetry Energy Solutions LLC             CustomerChoice@symmetryenergy.com
                 T-Mobile                                  Dan.Menser@t-mobile.com
                 Veolia Water New Jersey                   csnj@veolia.com
                 Washington Gas                            customersupport@washgas.com
                 Water District No. 20                     KCWD20@KCWD20.com
                 Xcel Energy                               corporatesecretary@xcelenergy.com




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                               Page 1 of 1
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 15 of 36




                            Exhibit D
                                 Case 23-14853-JKS     Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                      Desc Main
                                                              Document    Page 16 of 36
                                                                              Exhibit D
                                                                   Utility Providers Service List
                                                                   Served via First Class Mail

               CreditorName                CreditorNoticeName             Address1                        Address2          City      State      Zip         Country
                                                                                                                                                           United
   6DG                                                          Commodity Quay St                   Katharine Docks   London                  E1W 1AZ      Kingdom
   Alectra Utilities                                            55 John Street North                                  Markham         ON      L8R 3M8      Canada
   American Electric Power                                      P.O. Box 371496                                       Pittsburgh      PA      15250
   American Electric Power                                      1 Riverside Plaza                                     Columbus        OH      43215-2372
   Arapahoe Co Wtr & Wstewtr Auth                               P.O. Box 4640                                         Carol Stream    IL      60197
   Arapahoe Co Wtr & Wstewtr Auth                               13031 E Caley Avenue                                  Centennial      CO      80111
   AT&T                                                         P.O. BOX 5076                                         Carol Stream    IL      60197-5076
   AT&T                                                         208 S. Akard St.                                      Dallas          TX      75202
   Bay Area Air Quality Management
   District                                                     375 Beale Street, Suite 600                           San Francisco   CA      94105
   bp Energy Retail Company LLC                                 540 W Madison ,4th Floor                              Chicago         IL      60661
   Burbank Water & Power                                        164 W. Magnolia Blvd                                  Burbank         CA      91502
   Cablevision Lightpath, LLC                                   1111 Stewart Ave                                      Bethpage        NY      11714
   Calpine Energy Solutions                                     401 W. A Street, Suite 500                            San Diego       CA      92101
   Capcon Networks LLC                                          500 W 2nd St, Ste 1900                                Austin          TX      78701
   Capitol Waste & Recycling Services                           321 Dering Ave.                                       Columbus        OH      43207
   City Of El Segundo                                           350 Main St.                                          El Segundo      CA      90245
   City Of Fort Worth Water Dept.                               P.O. Box 870                                          Fort Worth      TX      76101
   City Of Fort Worth Water Dept.                               908 Monroe St.                                        For Worth       TX      76102
   City Of Santa Clara                                          1500 Warburton Ave                                    Santa Clara     CA      95050
   City Of Seattle                                              P.O. Box 35178                                        Seattle         WA      98124
   City Of Seattle                                              700 5th Ave, Ste 4900                                 Seattle         WA      98104
   City Of Sunnyvale                                            P.O. Box 4000                                         Sunnyvale       CA      94088
   City Of Sunnyvale                                            456 W. Olive Ave.                                     Sunnyvale       CA      94086
   City Of Tempe                                                P.O. Box 52166                                        Phoenix         AZ      85072
   City Of Tempe                                                City Hall, 31 E. 5th St.                              Tempe           AZ      85281
   City Of Tukwila                                              6200 Southcenter Blvd                                 Tukwila         WA      98188
   City of Waltham                                              610 Main St                                           Waltham         MA      02452
   Cogent                                                       P.O. Box 791087                                       Baltimore       MD      21279-1087
   Cogent                                                       2450 N Street NW                                      Washington      DC      20037
   Comcast Business                                             PO BOX 71211                                          Charlotte       NC      28272-1211
   Comcast Business                                             1701 JFK Boulevard                                    Philadelphia    PA      19103
   Comed                                                        P.O. Box 6111                                         Carol Stream    IL      60197
   Comed                                                        10 South Dearborn Street                              Chicago         IL      60603
   Constellation Newenergy Gas Dv                               P.O. Box 5473                                         Carol Stream    IL      60197
   Constellation Newenergy Gas Dv                               1310 Point Street                                     Baltimore       MD      21231
   Constellation Newenergy Inc.                                 1001 Louisiana St., Suite 2300                        Houston         TX      77002
   Delaware Co Regl Sewer Dist.                                 50 Channing Street                                    Delaware        OH      43015
   Delco Water Company                                          6658 Olentangy Road                                   Delaware        OH      43015
   Direct Energy Business                                       1001 Liberty Avenue                                   Pittsburgh      PA      15222



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                    Page 1 of 3
                                 Case 23-14853-JKS            Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                                  Desc Main
                                                                     Document    Page 17 of 36
                                                                                        Exhibit D
                                                                             Utility Providers Service List
                                                                             Served via First Class Mail

              CreditorName                      CreditorNoticeName                    Address1                      Address2                 City          State       Zip       Country
   Dominion Energy Virginia                                               P.O. Box 26543                                              Richmond            VA       23290
   Dominion Energy Virginia                                               120 Tredegar Street                                         Richmond            VA       23219
   Elk Grove Village                                                      901 Wellington Ave                                          Elk Grove Village   IL       60007
   Eversource                                                             P.O. Box 56007                                              Boston              MA       02205
   Eversource                                                             300 Cadwell Drive                                           Springfield         MA       01104
   Frontier                                                               P.O. Box 211579                                             Eagan               MN       55121-2879
   Frontier                                                               401 Merrit 7                                                Norwalk             CT       06851
   Granite                                                                100 Newport Ave Ext.                                        Quincy              MA       02171
   Greystone Power Corp                                                   P.O. Box 6071                                               Douglasville        GA       30154
                                                                          3400 Hiram Douglasville
   Greystone Power Corp                                                   Highway                                                     Hiram               GA       30141
   Highlands Ranch Metro District                                         62 W. Plaza Dr.                                             Highlands Ranch     CO       80129
   Highline Water District                                                23828 30th Ave South                                        Kent                WA       98032
   Intelipeer                                                             1855 Griffin Road, Suite A200                               Dania Beach         FL       33004
   Iron Mountain                                                          1 Federal St.                                               Boston              MA       02110
   Irvine Ranch Water District                                            15600 Sand Canyon Ave                                       Irvine              CA       92618
   Level 3 Communications Canada Co.                                      120 Adelaide St. W, Suite 2119                              Toronto             ON       M5H 1P9      Canada
                                                                                                              17th Floor, 2-5-1 Atago,
   Level 3 Communications Japan K.K,       Lumen Technologies Japan K.K. Atago Green Hills Mori Tower         Minato-ku,               Tokyo                       105-6217     Japan
   Level 3 Communications LLC                                            PO Box 910182                                                 Denver             CO       80291
   Level 3 Communications Singapore        Lumen Technologies Singapore
   Pte Ltd                                 Pte. Ltd.                     3 Irving Road                        #06-01 Tai Seng Centre Singapore                     369522       Singapore
   Liander N.V.                                                          Utrechtseweg 68                      Arnhem 08021677 KVK Arnhem                  AH       6812         Netherlands
   Loudoun Water                                                         44865 Loudon Way                                            Ashburn              VA       20146
   Maandfactuur Elektriciteit Vattenfall
   Sales Nederland N. V.                                                  Pac 1AF7233                         Postbus 41920           Amsterdam           DC       1009       Netherlands
   National Grid                                                          P.O. Box 371338                                             Pittsburgh          PA       15250
   National Grid                                                          40 Sylvan Rd                                                Waltham             MA       02451
   Net2Phone                                                              520 Broad St                                                Newark              NJ       07102
   Nicor Gas                                                              P.O. Box 2020                                               Aurora              IL       60507
   Nicor Gas                                                              1844 Ferry Road                                             Naperville          IL       60563-9600
   North Hudson Sewerage Auth.                                            1600 Adams Street                                           Hoboken             NJ       07030
   PG&E                                                                   P.O. Box 997300                                             Sacramento          CA       95899
   PG&E                                                                   300 Lakeside Dr                                             Oakland             CA       94612
   Polaris Realty Canada Ltd                                              555 West Hasting Street                                     Vancouver           BC       V6B 4N6    Canada
   PSE&G Co.                                                              P.O. Box 14444                                              New Brunswick       NJ       08906
   PSE&G Co.                                                              80 Park Plaza                                               Newark              NJ       07101-1171
   Puget Sound Energy                                                     P.O. Box 91269                                              Bellevue            WA       98009
   Puget Sound Energy                                                     355 110th Ave NE                                            Bellevue            WA       98004
   Region of Peel                                                         10 Peel Centre Dr.                                          Brampton            ON       L6T 4B9    Canada
   Republic Services - Sun Valley, Ca                                     18500 N. Allied Way                                         Phoenix             AZ       85054



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                              Page 2 of 3
                                 Case 23-14853-JKS            Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                     Desc Main
                                                                     Document    Page 18 of 36
                                                                                       Exhibit D
                                                                            Utility Providers Service List
                                                                            Served via First Class Mail

              CreditorName                      CreditorNoticeName                 Address1                  Address2          City      State     Zip    Country
   Republic Services 183                                                 1600 127th Ave. NE                             Bellevue         WA    98005
   Republic Services Of Santa Clara
   County                                                                1601 Dixon Landing Rd.                         Milpitas         CA    94546
                                                                         3045 Donald Lee Hollowell
   Republic Services, Inc. - Atlanta, Ga                                 Pkwy NW                                        Atlanta          GA    30318
   Republic Services, Inc. - Gardena, Ca                                 14905 S San Pedro St.                          Gardena          CA    90248
   Rs Titan LLC                                                          999 N. Sepulveda Blvd                          El Segundo       CA    90245
   Shakopee Public Utilities Comm.                                       255 Sarazin Street                             Shakopee         MN    55379
   Shaw                                                                  630 3rd Ave Sw, Ste 900                        Calgary          AB    T2P 4L4   Canada
   Socalgas                                                              P.O. Box C                                     Monterey Park    CA    91756
   Socalgas                                                              555 West 5th Street                            Los Angeles      CA    90013
                                                                                                                        Rancho
   Southern California Edison                                            P.O. Box 6400                                  Cucamonga        CA    91729
   Southern California Edison                                            2244 Walnut Grove Avenue                       Rosemead         CA    91770
   Southern California Gas Co                                            17836 Gillette Ave                             Irvine           CA    92614
   Southwest Gas                                                         2200 N. Central , Suite 101                    Phoenix          AZ    85004
   SRP                                                                   P.O. Box                                       Phoenix          AZ    85062
   SRP                                                                   1500 N. Mill Ave.                              Tempe            AZ    85288
   Suburban Waste MN, LLC                                                7125 126th St                                  Savage           MN    55378
   Symmetry Energy Solutions LLC                                         9811 Katy Freeway, Suite 1400                  Houston          TX    77024
   Tampa Electric                                                        P.O. Box 111                                   Tampa            FL    33601
   Tampa Electric                                                        702 N. Franklin St                             Tampa            FL    33602
   Telus                                                                 510 Georgia St W                               Vancouver        BC    V6B 0M3   Canada
                                                                         1000 Sawgrass Corporate
   T-Mobile                                                              Parkway, Suite 400                             Sunrise          FL    33323
   Veolia Water New Jersey                                               69 DeVoe Place                                 Hackensack       NJ    07601
                                           Verizon Wireless Bankruptcy   500 Technology Drive, Suite
   Verizon                                 Administration                550                                            Weldon Spring    MO    63304
   Verizon                                                               PO Box 660108                                  Dallas           TX    75266
   Village Of Bensenville                                                12 South Center Street                         Bensenville      IL    60106
   Washington Gas                                                        6801 Industrial Rd                             Springfield      VA    22151
   Waste Management Of Virginia, Inc.                                    1505 Moran Rd.                                 Sterling         VA    20166
   Water District No. 20                                                 12606 1st Ave. S.                              Burien           WA    98168
   Xcel Energy                                                           P.O. Box 8                                     Eau Claire       WI    54702
   Xcel Energy                                                           414 Nicollet Mall                              Minneapolis      MN    55401




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                             Page 3 of 3
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 19 of 36




                            Exhibit E
                                 Case 23-14853-JKS      Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                          Desc Main
                                                               Document    Page 20 of 36
                                                                                 Exhibit E
                                                                           Insurance Service List
                                                                         Served via First Class Mail

                     CreditorName                              Address1                        Address2          Address3          City      State       Zip       Country
 Allied World Assurancce Company (U.S.) Inc.   199 Water Street, 24th Floor                                                   New York      NY       10038
 American International Group, Inc. (AIG)      1271 Ave of the Americas FL 37                                                 New York      NY       10020-1304
 Aon Consulting, Inc.                          One Liberty Plaza 165 Broadway, S 3201                                         New York      NY       10006
 Aon Risk Services Central, Inc.               200 E. Randolph Street, Floor 12                                               Chicago       IL       60601
 Aon Risk Services Companies, Inc.             200 E. Randolph Street, Floor 12                                               Chicago       IL       60601
 Aon Risk Services, Inc of Florida             PO Box 955816                                                                  St. Louis     MO       63195
 AXA XL - Professional Insurance               100 Constitution Plaza, 17th Floor                                             Hartford      CT       06103
 AXA XL Specialty Insurance Company            70 Seaview Avenue                                                              Stamford      CT       06902-6040
 Beazley Group                                 45 Rockefeller Plaza, 16th floor                                               New York      NY       10111
 Beazley USA Services, Inc.                    30 Batterson Park Road                                                         Farmington    CT       06032
 BMS Group ltd.                                One America Square                                                             London                 EC3N 2LS United Kingdom
 Bowhead Specialty Underwriters, Inc.          667 Madison Ave, 5th Floor                                                     New York      NY       10065
 Brown & Brown of Florida,Inc. - Miami Di      14900 NW 79th Ct, Suite 200                                                    Miami Lakes   FL       33016
 CAC Specialty Client                          115 Office Park Drive                                                          Birmingham    AL       35223
 Canopius US Insurance                         140 Broadway, Suite 2210                                                       New York      NY       10005
 Catalytic Risk Managers                       350 10th Avenue, Suite 1450                                                    San Diego     CA       92101
 Chubb                                         One Beaver Valley Road                                                         Wilmington    DE       19803
 Chubb European Group SE                       La Tour Carpe Diem                        31 Place des Corolles Esplanade Nord Courbevoie             92400      France
 Chubb Insurance Company of Canada             199 Bay Street                                                                 Toronto       ON       M5L 1E2    Canada
 CRC Grroup                                    One North Franklin, Ste 1400                                                   Chicago       IL       60606
 Crum & Forster Specialty Insurance Company    305 Madison Avenue                                                             Morristown    NJ       07960
 First Insurance Funding Corportatio           450 Skokie Blvd, Ste 1000                                                      Northbrook    IL       60062-7917
 HARTFORD CASUALTY INSURANCE COMPANY           690 Asylum Avenue                                                              Hartford      CT       06155
 Hiscox Insurance Company, Inc.                104 S Michigan Ave, Suite 600                                                  Chicago       IL       60603
 Ipfs Corporation                              1055 Broadway 11th Floor                                                       Kansas City   MO       64105
 Ironshore                                     175 Berkeley Street                                                            Boston        MA       02116
 Liberty Surplus Insurance Corporation         175 Berkeley Street                                                            Boston        MA       02116
 Lloyds, London                                280 Park Avenue, East Tower, 25th Floor                                        New York      NY       10017
 Midvale Indemnity Company                     6000 American Parkway                                                          Madison       WI       53783-0001
 National Union & Fire Insurance Company of
 Pittsburgh, PA                                175 Water Street, 15th Floor                                                  New York       NY       10038
 North American Capacity Insurance Company     900 Elm Streeet                                                               Manchester     NH       03101
 Principal Life insurance Company              PO BOX 9394                                                                   Des Moines     IA       50306
 QBE Insurance Corporation                     55 Water Street                                                               New York       NY       10041
 Safety Specialty Insurance Company            1832 Schuetz Rd                                                               St. Louis      MO       63416-3540
 The Guardian Life Insurance Company           7 Hanover Square                                                              New York       NY       10004
 The Hartford                                  One Hartford Plaza                                                            Hartford       CT       06115
 The Magnes Group Inc.                         100-1540 Cornwall Road                                                        Oakville       ON       L6J 7W5    Canada
 Trumbull Insurance Company                    One Hartford Plaza                                                            Hartford       CT       06155
 UnitedHealthcare                              22703 Network Place                                                           Chicago        IL       60673
 Zurich Insurance Company Ltd.                 1001 Summit Blvd, Suite 1700                                                  Atlanta        GA       30319
 Zurich Insurance Company Ltd.                 First Canadian Place                      100 King Street      P.O. Box 290   Toronto        ON       M5X 1C9    Canada


In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                         Page 1 of 1
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 21 of 36




                            Exhibit F
                            Case 23-14853-JKS         Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                   Desc Main
                                                             Document    Page 22 of 36
                                                                            Exhibit F
                                                                       Banks Service List
                                                                    Served via First Class Mail
                                CreditorName        CreditorNoticeName                    Address1            City    State Zip
                               Bank of America Attn Legal, Officer or Director     100 North Tryon Street   Charlotte NC   28255
                                                                                   3800 Citibank Center,
                               Citibank          Attn Legal, Officer or Director   Building B, 1st Floor    Tampa   FL    33610




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                     Page 1 of 1
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 23 of 36




                            Exhibit G
       Case 23-14853-JKS             Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                     Desc Main
                                            Document    Page 24 of 36
                                                       Exhibit G
                                              Taxing Authorities Service List
                                                Served via Electronic Mail

                CreditorName                    CreditorNoticeName                                  Email
Arkansas Dept of Finance & Administration Administrative Services               oas@dfa.arkansas.gov
Arkansas Dept of Finance & Administration Attn Revenue Legal Counsel            Alicia.Austin.Smith@dfa.arkansas.gov
Bernalillo County Treasurer                                                     Treasurers@bernco.gov
California Department of Tax and Fee
Administration                                                                  LegalSOB@cdtfa.ca.gov
City of Albuquerque Planning Department                                         devhelp@cabq.gov
City of Aurora Tax & Licensing                                                  Tax@auroragov.org
City of Burbank Building Division                                               building@burbankca.gov
City of Chicago                                                                 city.treasurer@cityofchicago.org
City of Coral Gables Finance Dept.
Collection Division                                                             finance@coralgables.com
City of El Segundo                                                              mrobinson@elsegundo.org
City of New Orleans Department of Finance
Bureau of Revenue - Sales Tax                                                   salestax@nola.gov
City of Seattle - License and Tax
Administration                                                                  tax@seattle.gov
City of Sunnyvale                                                               BusinessLicense@sunnyvale.ca.gov
Colorado Department of Revenue Taxation                                         DOR_TaxpayerService@state.co.us;
Division                                                                        DOR_TAC_Bankruptcy@state.co.us
                                                                                DOR_TaxpayerService@state.co.us;
Colorado Dept of Revenue                    Attn Bankruptcy Unit                DOR_TAC_Bankruptcy@state.co.us
Comptroller of Maryland - Revenue
Administration Division                                                         taxhelp@comp.state.md.us
Connecticut Department of Revenue
Services                                                                        DRS@ct.gov
County of Orange                                                                ttcinfo@ttc.ocgov.com
Delaware County Auditor                                                         auditor@co.delaware.oh.us
Department of Finance& Administration                                           Alicia.Austin.Smith@dfa.arkansas.gov
Department of Revenue Services                                                  DRS@ct.gov
Department of Taxation                                                          bankruptcy@taxva.com
Douglas County Occupational Tax
Department                                                                      dctccomments@douglascountyga.gov
Douglas County Tax Commissioner                                                 dctccomments@douglascountyga.gov
Douglas County Treasurer                                                        dctreasurer@douglas.co.us
Du Page County Collector                                                        propertytaxadvocate@dupageco.org
                                                                                emailDOR@floridarevenue.com;
Florida Department of Revenue                                                   OGCBankruptcy@floridarevenue.com
Grant County Treasurer                                                          pcohn@grantcountynm.gov
Idaho State Tax Commission                                                      taxrep@tax.idaho.gov
Illinois Department of Revenue                                                  rev.bankruptcy@illinois.gov
Indiana Department of Revenue                                                   callen@dor.in.gov
Indiana Dept of Revenue                     Bankruptcy Section                  callen@dor.in.gov
Kansas Department of Revenue                                                    KDOR_tac@ks.gov
Kansas Dept of Revenue                      Scott State Office Building         KDOR_tac@ks.gov
Kentucky Dept of Revenue                                                        Michael.Hornback@ky.gov
King County Treasury                                                            Treasury.PersonalProperty@kingcounty.gov
Los Angeles County Tax Collector                                                unsecured@ttc.lacounty.gov
Maine Revenue Services                                                          corporate.tax@maine.gov
Miami Dade - Tax Collector                                                      proptax@miamidade.gov
                                                                                MIStateTreasurer@michigan.gov;
Michigan Department of Treasury                                                 Coll-Admin@michigan.gov
Missouri Dept of Revenue                                                        bankruptcy@dor.mo.gov

In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                 Page 1 of 2
       Case 23-14853-JKS             Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                     Desc Main
                                            Document    Page 25 of 36
                                                       Exhibit G
                                              Taxing Authorities Service List
                                                Served via Electronic Mail

               CreditorName                      CreditorNoticeName                               Email
New Mexico Taxation and Revenue
Department                                                                      tom.russell@state.nm.us
Office of Tax and Revenue                                                       Stephanie.Jeter@dc.gov
Ohio Department of Taxation                                                     rebecca_daum@tax.state.oh.us
Ohio Dept of Taxation                       Attn Bankruptcy Division            rebecca_daum@tax.state.oh.us
                                                                                jgappa@tax.ok.gov;
Oklahoma Tax Commission                     Taxpayer Service Center             bankruptcy@tax.ok.gov
                                                                                jgappa@tax.ok.gov;
Oklahoma Tax Commission                                                         bankruptcy@tax.ok.gov
Oregon Department of Revenue                                                    questions.dor@oregon.gov
Oregon Dept of Revenue                     Attn Bankruptcy Unit                 questions.dor@oregon.gov
Pennsylvania Department of Revenue                                              RA-RV-BET-HBG-TA-EM@pa.gov
Pennsylvania Dept of Revenue               Attn Compliance & Bankruptcy         RA-RV-BET-HBG-TA-EM@pa.gov
Santa Clara County - Department of Tax and
Collections                                                                     scctax@fin.sccgov.org
                                                                                bustax@state.sd.us;
South Dakota Secretary of State                                                 specialT@state.sd.us
State of Connecticut Department of
Revenue Services                                                                DRS@ct.gov
State of Hawaii - Department of Taxation                                        Taxpayer.Services@hawaii.gov
State of New Mexico Taxation & Revenue
Department                                                                      tom.russell@state.nm.us
State of West Virginia - State Tax
Department                                                                      TaxLegal@WV.Gov
Tennessee Department of Revenue                                                 TDOR.Bankruptcy@tn.gov
The City of Irvine                                                              COITreasury@cityofirvine.org
The City of Santa Clara Business Tax Unit                                       BusinessLicense@santaclaraca.gov
Utah State Tax Commission                                                       taxmaster@utah.gov
Vermont Department of Taxes                                                     tax.vttaxdept@vermont.gov
Vermont Dept of Taxes                                                           tax.vttaxdept@vermont.gov
Virginia Department of Taxation             Virginia Tax                        bankruptcy@taxva.com
Virginia Department of Taxation                                                 bankruptcy@taxva.com
                                        Bankruptcy Unit, Stephanie
                                        Jeterm Supervisory Revenue
Washington DC Office of Tax and Revenue Officer                                 Stephanie.Jeter@dc.gov
West Virginia Secretary of State                                                TaxLegal@WV.Gov
Wisconsin Department of Revenue                                                 DORIncome@wisconsin.gov




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                Page 2 of 2
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 26 of 36




                            Exhibit H
                                  Case 23-14853-JKS            Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                                   Desc Main
                                                                      Document    Page 27 of 36
                                                                                            Exhibit H
                                                                                   Taxing Authorities Service List
                                                                                    Served via First Class Mail

                CreditorName                      CreditorNoticeName                          Address1                     Address2                  City   State       Zip       Country
  Alabama Secretary of State                                                       770 Washington Avenue             RSA Plaza - Suite 580    Montgomery    AL      36104
  Alaska Secretary of State                                                        550 W 7th Ave, Ste 1500                                    Anchorage     AK      99501
  American Arbitration Association                                                 120 Broadway, 21st Floor                                   New York      NY      10271
  Arizona Department of Revenue                                                    P.O. Box 29085                                             Phoenix       AZ      85038
  Arizona Department of Revenue                                                    P.O. Box 29010                                             Phoenix       AZ      85038
  Arizona Department of Revenue                                                    P.O. Box 29032                                             Phoenix       AZ      85038
  Arizona Dept of Revenue                                                          1600 West Monroe St                                        Phoenix       AZ      85007
  Arizona Secretary of State                                                       1700 W Washington St, Fl 7                                 Phoenix       AZ      85007
  Arkansas Dept of Finance & Administration Administrative Services                1515 W 7th St, Ste 700                                     Little Rock   AR      72201
                                                                                                                     1816 W 7th St, Room
  Arkansas Dept of Finance & Administration Attn Revenue Legal Counsel             Ledbetter Building                2380                     Little Rock   AR      72201
  Arkansas Dept of Finance & Administration                                        1509 West 7th St                                           Little Rock   AR      72201
                                                                                                                     1401 W. Capitol
  Arkansas Secretary of State                                                      Victory Building                  Avenue, Suite 250        Little Rock   AR      72201
  Belastingdienst/Apeldoorn                                                        Postbus 90358                                              Amsterdam     BJ      1006         Netherlands
                                                                                                                     Kantoor Hoofddorp
  Belastingdienst/Apeldoorn                                                        Belastingdienst                   Capellalaan 1            Hoofddorp     JK      2132         Netherlands
  Bernalillo County Treasurer                                                      P.O. Box 27800                                             Albuquerque   NM      87125
  California Department of Tax and Fee
  Administration                                                                   P.O. Box 942879                                            Sacramento    CA      94279
  California Franchise Tax Board                                                   P.O. Box 942857                                            Sacramento    CA      94257
  California Secretary of State                                                    1500 11th Street                                           Sacramento    CA      95814
                                                                                                                     Post Office Box 20000,
  Canada Revenue Agency - Ontario                                                  Sudbury tax Centre                Station A                Sudbury       ON      P3A 5C1      Canada
  Canada Revenue Agency - Quebec                                                   Prince Edward Island tax centre   275 Pope Road            Summerside    PE      C1N 6A2      Canada
  City and County of Denver, Colorado                                              201 W. Colfax Ave.                Department 1009          Denver        CO      80202
  City of Albuquerque Planning Department                                          600 Second NW                                              Albuquerque   NM      87102
  City of Aurora Tax & Licensing                                                   P.O. Box 913200                                            Denver        CO      80291
  City of Baton Rouge - Parish of East Baton
  Rouge                                      Dept. of Finance - Revenue Division   P.O. Box 2590                                              Baton Rouge   LA      70821
  City of Burbank Building Division                                                P.O. Box 6459                                              Burbank       CA      91510-6459
  City of Chicago                                                                  121 N. LaSalle Street                                      Chicago       IL      60602
  City of Coral Gables Finance Dept.
  Collection Division                                                              P.O. Box 916020                                            Orlando       FL      32891
  City of El Segundo                                                               350 Main Street                                            El Segundo    CA      90245
  City of Monroe - Taxation of Revenue
  Division                                                                         P.O. Box 123                                               Monroe        LA      71210
  City of New Orleans Department of Finance
  Bureau of Revenue - Sales Tax                                                    1300 Perdido St.                                           New Orleans   LA      70112
  City of Seattle - License and Tax
  Administration                                                                   P.O. Box 34907                                             Seattle       WA      98124
  City of Sunnyvale                                                                650 West Olive Avenue             P.O. Box 3707            Sunnyvale     CA      94088-3707
  City of Vancouver                                                                515 West 10th Avenue                                       Vancouver     BC      V5Z 4A8    Canada



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                                     Page 1 of 6
                                  Case 23-14853-JKS          Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                            Desc Main
                                                                    Document    Page 28 of 36
                                                                                    Exhibit H
                                                                           Taxing Authorities Service List
                                                                            Served via First Class Mail

                 CreditorName                        CreditorNoticeName               Address1                     Address2               City      State     Zip      Country
  City of Waltham Office of City Clerk                                     610 Main Street                                           Waltham        MA    02452
  City of Waltham Treasurer/Collectors Office                              P.O. Box 540190                                           Waltham        MA    02454
  Colorado Department of Revenue                                           Colorado Department of Revenue                            Denver         CO    80261
  Colorado Department of Revenue Taxation
  Division                                                                 P.O. Box 17087                                            Denver         CO    80217-0087
  Colorado Dept of Revenue                    Attn Bankruptcy Unit         1881 Pierce St.                   Entrance B              Lakewood       CO    80214
  Colorado Secretary of State                                              1700 Broadway, Suite 550                                  Denver         CO    80290
  Commissioner of the Revenue Loudoun
  County                                                                   P.O. Box 8000                                             Leesburg       VA    20177-9804
  Commonwealth of Pennsylvania
  Department of Revenue                                                    P.O. Box 280905                                           Harrisburg     PA    17128-0905
  Comptroller of Maryland - Revenue
  Administration Division                                                  110 Carroll Street                                        Annapolis      MD    21411
  Comptroller of Public Accounts                                           P.O. Box 149355                                           Austin         TX    78714
  Connecticut Department of Revenue
  Services                                                                 P.O. Box 5030                                             Hartford       CT    06102
  Connecticut Secretary of State                                           165 Capitol Avenue, Suite 1000                            Hartford       CT    06106
  Cook County Treasurer                                                    P.O. Box 805436                                           Chicago        IL    60680
  County of Loudoun - Treasurers Office                                    P.O. Box 1000                                             Leesburg       VA    20177
  County of Orange                                                         P.O. Box 1438                                             Santa Ana      CA    92702
                                                                           1350 Pennsylvania Avenue NW,
  DC Secretary of State                                                    Suite 419                                                 Washington     DC    20004
  Delaware County Auditor                                                  145 North Union Street         P.O. Box 8006              Delaware       OH    43015
                                                                                                          820 N. French St., 10th
  Delaware Secretary of State                                              Wilmington Office              Floor                      Wilmington     DE    19801
  Delaware Secretary of State                                              Dover Office                   401 Federal St., Suite 3   Dover          DE    19901
  Department of Finance& Administration                                    P.O. Box 3861                                             Little Rock    AR    72203
  Department of Revenue Services                                           P.O. Box 150420                                           Hartford       CT    06115
  Department of Taxation                                                   P.O. Box 26627                                            Richmond       VA    23261
  Douglas County Occupational Tax
  Department                                                               8700 Hospital Drive 1st Floor                             Douglasville   GA    30134
  Douglas County Tax Commissioner                                          6200 Fairburn Rd                                          Douglasville   GA    30134
  Douglas County Treasurer                                                 P.O. Box 1208                                             Castle Rock    CO    80104
  Du Page County Collector                                                 P.O. Box 4203                                             Carol Stream   IL    60197
  Florida Department of Revenue                                            5050 W Tennessee St                                       Tallahassee    FL    32399
                                                                                                             500 South Bronough
  Florida Secretary of State                                               R.A. Gray Building                Street                  Tallahassee    FL    32399
  Georgia Department of Revenue                                            P.O. Box 105408                                           Atlanta        GA    30348
                                           Compliance Division - Central   1800 Century Blvd NE, Suite
  Georgia Dept of Revenue                  Collection Section              9100                                                      Atlanta        GA    30345-3202
  Georgia Secretary of State                                               214 State Capitol                                         Atlanta        GA    30334
  Government of the District of Columbia                                   P.O. Box 470                                              Washington     DC    20044
  Grant County Treasurer                                                   P.O. Box 37                                               Ephrata        WA    98823



In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                             Page 2 of 6
                                  Case 23-14853-JKS          Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                        Desc Main
                                                                    Document    Page 29 of 36
                                                                                 Exhibit H
                                                                        Taxing Authorities Service List
                                                                         Served via First Class Mail

                 CreditorName                    CreditorNoticeName                  Address1                   Address2              City      State      Zip       Country
                                                                                                          335 Merchant Street,
  Hawaii Secretary of State                                             King Kalakaua Building            Rm. 201                Honolulu       HI      96813
  Hillsborough County Tax Collector                                     P.O. Box 30012                                           Tampa          FL      33630
  Idaho Secretary of State                                              700 W. Jefferson St., Room E205                          Boise          ID      83702
  Idaho State Tax Commission                                            P.O. Box 75                                              Boise          ID      83707
  Illinois Department of Revenue                                        P.O. Box 19009                                           Springfield    IL      62796
  Illinois Department of Revenue                                        P.O. Box 19030                                           Springfield    IL      62794
  Illinois Secretary of State                                           213 State Capitol                                        Springfield    IL      62756
  Indiana Department of Revenue                                         P.O. Box 7218                                            Indianapolis   IN      46207
                                                                        100 North Senate Avenue, MS
  Indiana Dept of Revenue                 Bankruptcy Section            108                                                      Indianapolis   IN      46204
                                                                        200 W. Washington St., Room
  Indiana Secretary of State                                            201                                                      Indianapolis   IN      46204
  Iowa Department of Revenue                                            P.O. Box 10412                                           Des Moines     IA      50306
  Iowa Department of Revenue                                            Hoover State Office Building     1305 E Walnut           Des Moines     IA      50319
  Iowa Secretary of State                                               First Floor, Lucas Building      321 E. 12th St.         Des Moines     IA      50319
  Kansas Department of Revenue                                          P.O. Box 3506                                            Topeka         KS      66625
  Kansas Dept of Revenue                  Scott State Office Building   120 SE 10th Avenue                                       Topeka         KS      66612-1103
  Kansas Secretary of State                                             Memorial Hall 1st Floor          120 SW 10th Avenue      Topeka         KS      66612-1594
                                                                        Kentucky Department of
  Kentucky Department of Revenue                                        Revenue                                                  Frankfort      KY      40620
  Kentucky Dept of Revenue                                              501 High St                                              Frankfort      KY      40601
  Kentucky Secretary of State                                           700 Capital Avenue, Suite 152                            Frankfort      KY      40601
  King County Treasury                                                  201 S. Jackson Street, Suite 710                         Seattle        WA      98104
  Los Angeles County Tax Collector                                      P.O Box 54027                                            Los Angeles    CA      90054
  Los Angeles County Tax Collector                                      P.O Box 54018                                            Los Angeles    CA      90054
  Louisiana Department of Revenue                                       P.O. Box 3138                                            Baton Rouge    LA      70821
  Louisiana Department of Revenue                                       P.O. Box 201                                             Baton Rouge    LA      70821
  Louisiana Dept of Revenue                                             617 North Third St                                       Baton Rouge    LA      70802
  Louisiana Secretary of State                                          8585 Archives Ave                                        Baton Rouge    LA      70809
  Maine Revenue Services                                                P.O. Box 1064                                            Augusta        ME      04332
  Maine Secretary of State                                              103 Sewall St., 2nd Floor                                Augusta        ME      04333
  Maricopa County Treasurers Office                                     P.O. Box 52133                                           Phoenix        AZ      85072
                                                                        301 W. Preston Street, Room
  Maryland Secretary of State                                           801                                                      Baltimore      MD      21201-2395
  Massachusetts Department of Revenue                                   P.O. Box 7025                                            Boston         MA      02204
  Massachusetts Department of Revenue                                   P.O. Box 419257                                          Boston         MA      02241
  Massachusetts Department of Revenue                                   100 Cambridge St., 2nd Floor                             Boston         MA      02114
  Massachusetts Secretary of State                                      One Ashburton Place                                      Boston         MA      02108
  Miami Dade - Tax Collector                                            200 NW 2nd Avenue                                        Miami          FL      33128
  Miami-Dade County                                                     200 NW 2nd Avenue                                        Miami          FL      33128
  Michigan Department of Treasury                                       P.O. Box 30756                                           Lansing        MI      48956
                                                                                                         Richard H. Austin
  Michigan Secretary of State                                           430 W. Allegan St.               Building - 4th Floor    Lansing        MI      48918


In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                          Page 3 of 6
                                  Case 23-14853-JKS            Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                            Desc Main
                                                                      Document    Page 30 of 36
                                                                                  Exhibit H
                                                                         Taxing Authorities Service List
                                                                          Served via First Class Mail

              CreditorName                          CreditorNoticeName                Address1                        Address2               City       State     Zip   Country
  Minnesota Department of Revenue                                         Mail Station 1255                    600 N. Robert Street    St. Paul         MN    55146
  Minnesota Department of Revenue                                         P.O. Box 64622                                               St. Paul         MN    55164
                                                                                                               332 Minnesota Street,
  Minnesota Secretary of State                                            First National Bank Building         Suite N201              Saint Paul       MN    55101
  Mississippi Secretary of State                                          125 S. Congress Street                                       Jackson          MS    39201
  Mississippi Tax Commission                                              P.O. Box 960                                                 Jackson          MS    39205
  Missouri Department of Revenue- Taxation
  Division                                                                P.O. Box 840                                                 Jefferson City   MO    65105
                                                                                                               Harry S Truman State
  Missouri Dept of Revenue                                                301 West High Street                 Office Building         Jefferson City   MO    65101
  Missouri Secretary of State                                             600 West Main Street                                         Jefferson City   MO    65101
  Montana Secretary of State                                              1301 E 6th Ave                                               Helena           MT    59601
  Nebraska Secretary of State                                             1445 K St Ste 2300                                           Lincoln          NE    68508
  Nevada Secretary of State                                               101 N Carson Street, Suite 3                                 Carson City      NV    89701
  NEW HAMPSHIRE DEPARTMENT OF                                             109 Pleasant St. (Medical &          Governor Hugh Gallen
  REVENUE ADMINISTRATION                     ATTN LEGAL BUREAU            Surgical Building)                   State Office Park       Concord          NH    03301
  New Hampshire Department of Revenue
  Administration                                                          P.O. Box 1265                                                Concord          NH    03302
  New Hampshire Secretary of State                                        107 North Main Street                                        Concord          NH    03301
  New Jersey Secretary of State                                           125 W State St                                               Trenton          NJ    08608
  New Mexico Secretary of State                                           325 Don Gaspar Ave Ste 300                                   Santa Fe         NM    87501
  New Mexico Taxation and Revenue
  Department                                                              P.O. Box 25127                                               Santa Fe         NM    87504
  New Mexico Taxation and Revenue
  Department                                                              P.O. Box 25128                                               Santa Fe         NM    87504
  New York Secretary of State                                             123 William St Ste 2                                         New York         NY    10038
  New York State Department of Revenue                                    P.O. Box 15172                                               Albany           NY    12212
  North Carolina Department of Revenue                                    P.O. Box 25000                                               Raleigh          NC    27640
  North Carolina Secretary of State                                       2 S Salisbury St                                             Raleigh          NC    27601
  North Dakota Office of State Tax
  Commissioner                                                            600 E Boulevard Ave, Dept 127                                Bismarck         ND    58505
                                                                          600 E Boulevard Avenue, Dept
  North Dakota Secretary of State                                         108                                                          Bismarck         ND    58505
  NYC Department of Finance                                               P.O. Box 3933                                                New York         NY    10008
  NYS Corporation Tax                                                     P.O. Box 15180                                               Albany           NY    12212
  Office of Tax and Revenue                                               P.O. Box 96019                                               Washington       DC    20090
  Ohio Department of Taxation                                             P.O. Box 182101                                              Columbus         OH    43218
  Ohio Department of Taxation                                             P.O. Box 182131                                              Columbus         OH    43218
  Ohio Dept of Taxation                      Attn Bankruptcy Division     4485 Northland Ridge Blvd.                                   Columbus         OH    43229
  Ohio Secretary of State                                                 22 North Fourth Street, 16th Floor                           Columbus         OH    43215
                                                                                                               421 NW 13th St, Suite
  Oklahoma Secretary of State                                             Colcord Center                       210/220                 Oklahoma City OK       73103
  Oklahoma Tax Commission                    Taxpayer Service Center      300 N Broadway Ave.                                          Oklahoma City OK       73102
  Oklahoma Tax Commission                                                 P.O. Box 26890                                               Oklahoma City OK       73126


In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                           Page 4 of 6
                                  Case 23-14853-JKS               Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                           Desc Main
                                                                         Document    Page 31 of 36
                                                                                             Exhibit H
                                                                                    Taxing Authorities Service List
                                                                                     Served via First Class Mail

               CreditorName                           CreditorNoticeName                        Address1                     Address2          City        State       Zip       Country
  Oklahoma Tax Commission                                                           P.O. Box 26850                                       Oklahoma City     OK      73126
  Oregon Department of Revenue                                                      P.O. Box 14780                                       Salem             OR      97309
  Oregon Dept of Revenue                       Attn Bankruptcy Unit                 955 Center St NE                                     Salem             OR      97301-2555
  Oregon Secretary of State                                                         255 Capitol St. NE, Suite 151                        Salem             OR      97310
  Pennsylvania Department of Revenue                                                P.O. Box 280437                                      Harrisburg        PA      17128
  Pennsylvania Dept of Revenue                 Attn Compliance & Bankruptcy         Strawberry Square Lobby                              Harrisburg        PA      17128-0101
  Pennsylvania Secretary of State                                                   401 North St Rm 206                                  Harrisburg        PA      17120
  Piscataway Twp - Middlesex Co Tax
  Collector                                                                         455 Hoes Lane                                        Piscataway        NJ      08854
                                               Direction principale des relations
  Revenu Quebec                                avec la clientele des entreprises    3800, rue de Marly                                   Quebec            QC      G1X 4A5      Canada
  Rhode Island Secretary of State                                                   148 W. River St.                                     Providence        RI      02904
  Santa Clara County - Department of Tax                                            70 W Hedding Street, East Wing
  and Collections                                                                   6th Floor                                            San Jose          CA      95110
  Santa Clara County - Department of Tax
  and Collections                                                                   P.O. Box 60534                                       Cityof Industry   CA      91716
  Scott County                                                                      200 4th Ave W                                        Shakopee          MN      55379
  South Dakota Department of Revenue                                                445 E. Capitol Ave.                                  Pierre            SD      57501
  South Dakota Secretary of State                                                   500 E Capitol Ave                                    Pierre            SD      57501
  State of Connecticut Department of
  Revenue Services                                                                  450 Columbus Blvd., Suite 1                          Hartford          CT      06103
  State of Hawaii - Department of Taxation                                          P.O. Box 1425                                        Honolulu          HI      96806
  State of Nevada - Sales/Use                                                       P.O. Box 51107                                       Los Angeles       CA      90051
  State of New Mexico Taxation & Revenue
  Department                                                                        10500 Copper Ave NE Suite C                          Albuquerque       NM      87123
  State of NJ - Sales and Use Tax                                                   P.O. Box 999                                         Trenton           NJ      08646
  State of Rhode Island Division of Taxation                                        One Capitol Hill- STE 4                              Providence        RI      02908
  State of Washington Department of
  Revenue                                                                           P.O. Box 9034                                        Olympia           WA      98507-9034
  State of West Virginia - State Tax
  Department                                                                        P.O. Box 1826                                        Charleston        WV      25327
  Tarrant County Tax Assessor - Collector                                           P.O. Box 961018                                      Fort Worth        TX      76161
  Tax Collector of Jersey City                                                      280 Grove Street Room 101                            Jersey City       NJ      07302
                                                                                    Andrew Jackson State Office
  Tennessee Department of Revenue                                                   Building                          500 Deaderick St   Nashville         TN      37242
  Tennessee Secretary of State                                                      312 Rosa L Parks Ave                                 Nashville         TN      37243
                                                                                    Lyndon B Johnson State Office
  Texas Comptroller of Public Accounts         Attn Bankruptcy Section              Building                          111 East 17th St   Austin            TX      78774
  Texas Comptroller of Public Accounts                                              P.O. Box 149348                                      Austin            TX      78714
  Texas Secretary of State                                                          1019 Brazos St                                       Austin            TX      78701
  The City of Irvine                                                                1 Civic Center Plaza              P.O. Box 19575     Irvine            CA      92623-9575
  The City of Santa Clara Business Tax Unit                                         1500 Warburton Ave                                   Santa Clara       CA      95050




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                                      Page 5 of 6
                                  Case 23-14853-JKS         Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                              Desc Main
                                                                   Document    Page 32 of 36
                                                                                     Exhibit H
                                                                            Taxing Authorities Service List
                                                                             Served via First Class Mail

                 CreditorName                     CreditorNoticeName                     Address1                    Address2              City        State      Zip       Country
  U.S. Department of Commerce             U.S. Department of Commerce EU- 1401 Constitution Avenue N.W.
  International Trade Administration      U.S. & Swiss-U.S. Privacy Shield  Room 11018                                                Washington       DC      20230
  Utah Secretary of State                                                   160 East 300 South                                        Salt Lake City   UT      84111
  Utah Secretary of State                                                   160 E Broadway                                            Salt Lake City   UT      84111
  Utah State Tax Commission                                                 210 North 1950 West                                       Salt Lake City   UT      84134
  Utah State Tax Commission Sales Tax                                       210 N 1950 W                                              Salt Lake City   UT      84134
  Vermont Department of Taxes                                               P.O. Box 547                                              Montpelier       VT      05601
  Vermont Dept of Taxes                                                     133 State St                                              Montpelier       VT      05633-1401
  Vermont Secretary of State                                                128 State St                                              Montpelier       VT      05602
  Virginia Department of Taxation         Virginia Tax                      1957 Westmoreland St                                      Richmond         VA      23230
  Virginia Department of Taxation                                           P.O. Box 1498                                             Richmond         VA      23218
  Virginia Secretary of State                                               Office of the Clerk, 1st floor    1300 E. Main St.        Richmond         VA      23219
                                          Bankruptcy Unit, Stephanie Jeterm
  Washington DC Office of Tax and Revenue Supervisory Revenue Officer       1101 4th Street SW                                        Washington       DC      20024
  Washington Secretary of State                                             801 Capitol Way South                                     Olympia          WA      98501
  Washington State Department of Revenue                                    P.O. Box 47464                                            Olympia          WA      98504
  Weehawken Twp Collector                                                   400 Park Ave                                              Weehawken        NJ      07087
                                                                                                              State Capitol Complex
  West Virginia Secretary of State                                           1900 Kanawha Boulevard East      Bldg. 1, Ste. 157-K     Charleston       WV      25305
  Wisconsin Department of Revenue                                            P.O. Box 3028                                            Milwaukee        WI      53201
  Wisconsin Department of Revenue                                            P.O. Box 8949                                            Madison          WI      53708
  Wisconsin Department of Revenue                                            P.O. Box 8965                                            Madison          WI      53708
                                                                             State Capitol Building Room
  Wisconsin Secretary of State                                               B41W                                                     Madison          WI      53703
                                                                                                              122 W 25th St, Suites
  Wyoming Secretary of State                                                 Herschler Building East          100 and 101             Cheyenne         WY      82002-0020




In re Cyxtera Technologies, Inc. et al.
Case No. 23-14853 (JKS)                                                              Page 6 of 6
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 33 of 36




                             Exhibit I
                            Case 23-14853-JKS          Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38              Desc Main
                                                              Document    Page 34 of 36
                                                                            Exhibit I
                                                           Hedging Contract Counterparties Service List
                                                                   Served via First Class Mail
                                            CreditorName                    Address1                   City    State Zip
                                    Calpine Energy Solutions       401 W. A Street, Suite 500     San Diego    CA   92101
                                                                   1001 Louisiana Street, Suite
                                    Constellation Newenergy Inc.   2300                           Houston       TX   77002
                                    Direct Energy Business         1001 Liberty Avenue            Pittsburgh    PA   15222
                                    Shell Energy Solutions         21 Waterway Ave, Suite 450     The Woodlands TX   77380




In re Cyxtera Technologies, Inc., et al.
Case No. 23-14853 (JKS)                                                     Page 1 of 1
Case 23-14853-JKS   Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38   Desc Main
                           Document    Page 35 of 36




                             Exhibit J
                            Case 23-14853-JKS         Doc 205 Filed 07/08/23 Entered 07/08/23 00:35:38                   Desc Main
                                                             Document    Page 36 of 36
                                                                            Exhibit J
                                                                        OCP Service List
                                                                    Served via First Class Mail
                                 CreditorName                              Address1                    City     State     Zip    Country
                   Alice L. King, PLLC                        P.O.Box 215                         Hunt         TX       78024
                   Cohen Tauber Spievack & Wagner P.C.        420 Lexington Avenue, Suite 2400    New York     NY       10170
                   Greenberg Traurig, LLP                     333 S.E. 2nd Avenue, Suite 4400     Miami        FL       33131
                   Haynes and Boone, LLP                      2323 Victory Avenue Suite 700       Dallas       TX       75219
                   Holland & Knight LLP                       524 Grand Regency Blvd              Brandon      FL       33510
                   Mayer Brown LLP                            311 West Monroe Street, Suite 600   Chicago      IL       60606
                   Miller & Chevalier Chartered               900 16th Street NW                  Washington   DC       20006
                   Mintz, Levin, Cohn, Ferris, Glovsky, and
                   Popeo, P.C.                                666 Third Avenue                    New York     NY       10017
                   PricewaterhouseCoopers
                   Belastingadviseurs N.V. (KvK 34180284)     Fascinatio Boulevard 350            Rotterdam    WB       3065    Netherlands
                   PricewaterhouseCoopers LLP (Canada)
                   PwC Centre                                 354 Davis Road, Suite 600           Oakville     ON       L6J 0C5 Canada
                   Shook Hardy & Bacon L.L.P.                 2555 Grand Blvd                     Kansas City MO        64108
                   Shuttleworth & Ingersoll, P.L.C.           115 3rd St. SE, Suite 500           Cedar Rapids IA       52401




In re Cyxtera Technologies, Inc., et al.
Case No. 23-14853 (JKS)                                                    Page 1 of 1
